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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )
                           Plaintiff,             )
                                                  )                   8:04CR337
                   vs.                            )
                                                  )                  CORRECTED1
TAMARA SHEFFIELD,                                 )                   ORDER
                                                  )
                           Defendant.             )


        Defendant Tamara Sheffield (Sheffield) appeared before the court on January 11,
2008, on the Petition for Warrant or Summons for Offender Under Supervision (Report)
(Filing No. 136). Sheffield was represented by David L. Nich and the United States was
represented by Assistant U.S. Attorney Frederick R. Franklin. Through her counsel,
Sheffield waived her right to a probable cause hearing on the Report pursuant to Fed. R.
Crim. P. 32.1(a)(1). I find that the Report alleges probable cause and that Sheffield should
be held to answer for a final dispositional hearing before Judge Laurie Smith Camp.
        Sheffield was returned to Douglas County Authorities and the U.S. Marshal was
directed to place a detainer with such authorities.


        IT IS ORDERED:
        A final dispositional hearing will be held before Judge Laurie Smith Camp in
Courtroom No. 2, Third Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza,
Omaha, Nebraska, at 2:30 p.m. on March 3, 2008. Defendant must be present in person.
        DATED this 11th day of January, 2008.
                                                          BY THE COURT:
                                                          s/Thomas D. Thalken
                                                          United States Magistrate Judge




        1
             A typographical error occurred referring to the defendant as “Smith.” The defendant is Tamara
Sheffield.
